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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF IOWA
                              DAVENPORT DIVISION


 JOHN DOE,                                                    CASE NO. 3-19-CV-00047

      Plaintiff,

 v.

 UNIVERSITY OF IOWA;
 BOARD OF REGENTS,
 STATE OF IOWA, TIFFINI
 STEVENSON EARL,                                                 DEFENDANTS’
 individually and in official                                    RESPONSE TO
 capacity, IRIS FROST,                                       PLAINTIFF’S MOTION TO
 individually and in official                                   CONTINUE TRIAL
 capacity, LYN REDINGTON,
 individually and in official
 capacity, ANGIE REAMS in
 official capacity,
 CONSTANCE SCHRIVER
 CERVANTES, individually
 and in official capacity,
 JOHN KELLER, individually
 and in official capacity,
 MONIQUE DICARLO,
 individually and in official
 capacity, MARK BRAUN,
 individually and in official
 capacity,

      Defendants.


         COME NOW Defendants and submit their response to Plaintiff’s motion to

continue trial, and state as follows:

      1. A five-day jury trial in this matter is currently scheduled to begin on July 19, 2021.

      2. On January 15, 2021, Defendants filed their motion for summary judgment. As a

         result, Plaintiff’s deadline to file a resistance to Defendant’s motion is set for

         February 5, 2021.

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3. Hearing on Defendants’ motion is scheduled for March 5, 2021.

4. In his motion for continuance, Plaintiff proffered several factual claims in an effort

   to establish good cause supporting a continuance of the trial date, or alternatively

   supporting a two-week extension to his resistance deadline.

5. Defendants dispute the implications arising from Plaintiff’s summary of events, as

   Plaintiff’s summary is incomplete and/or misleading.

6. First, Plaintiff insinuates that the undersigned tricked Plaintiff into agreeing to

   cancel a status conference with the Court scheduled for December 11, 2020, by

   informing Plaintiff that the undersigned did not anticipate any “major issues” with

   Defendants’ responses to Plaintiff’s discovery requests.

7. Defendants worked diligently to produce responsive documents and relevant

   objections to Plaintiff’s lengthy and broad requests, including by applying a rolling

   production of documents and responses.

8. Second, Plaintiff states that Defendants submitted their discovery responses on

   December 29, 2020. This is inaccurate and misleading – Defendants submitted the

   bulk of their responses on December 4, 2020, with the remainder of their responses

   submitted on December 29.

9. Plaintiff then waited until January 11, 2021, before raising any alleged deficiencies

   or disputes to Defendants’ responses, the same week as the deadline for filing

   summary judgment, which fell on January 15, 2021.

10. While Defendants disputed that their responses were deficient, Defendants

   nonetheless worked diligently to arrive at a fair agreement to resolve the issues in

   a timely manner, including offering to submit supplemental productions of

   documents which Defendants believed to fall outside of the scope of Plaintiff’s

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   original requests. This effort was admittedly frustrated by inconsistencies in

   Plaintiff’s positions, creating a moving target of sorts for Defendants to address.

11. An additional aspect to the parties’ negotiations was the consideration of a joint or

   unresisted motion for continuance, with the goal being to shift the relevant

   summary judgment deadlines and allow for more time for Defendants to collect

   and produce the agreed upon documents and for Plaintiff to review accordingly.

12. However, concerned with the rapidly approaching summary judgment deadline,

   Defendants proceeded with filing their motion for summary judgment on January

   15, 2021, while also proceeding with the abovementioned supplemental

   productions.

13. Defendants produced the first batch of supplemental productions on January 22,

   2021, with the final, limited batch produced on January 29, 2021.

14. Defendants resist Plaintiff’s request for a continuance of the trial date, as written

   in his motion. As noted above, the original contemplated purpose of such a

   continuance was to shift the relevant summary judgment deadlines. However, now

   that the Court has scheduled a hearing on Defendants’ motion for March 5, 2021,

   any continuance to the trial date would not achieve the originally contemplated

   goal and serve no other useful purpose.

15. Additionally, Defendants resist Plaintiff’s request for a two-week extension to his

   resistance deadline. Such an extension would set his deadline for February 19,

   2021, and subsequently set Defendants’ reply deadline on February 26, 2021,

   merely a week prior to the scheduled hearing.

16. Furthermore, the requested extension would allow for Plaintiff to have had

   Defendants’ summary judgment materials for more than a month prior to filing his

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       resistance, and full production of the requested documents approximately three

       weeks ahead of his deadline. This would unfairly benefit Plaintiff and unjustly

       prejudice Defendants solely for abiding by the existing filing deadline.

   17. As such, for the sake of ensuring the Court has sufficient time to review all of the

       summary judgment materials ahead of the March 5, 2021, hearing and for the sake

       of fairness, Defendants resist Plaintiff’s request for a two-week extension.

   18. However, in light of the discussion held during the status conference on February

       3, 2021, Defendants do not object to the Court’s plan for extending Plaintiff’s

       summary judgment resistance deadline to two-weeks out from the filing of the

       Court’s ruling on Plaintiff’s motion to compel, with the understanding that this will

       likely mean the March 5, 2021 hearing will also be rescheduled.

                                     CONCLUSION

       WHEREFORE Defendants respectfully request the Court deny Plaintiff’s request

for a continuance of trial date and partially deny Plaintiff’s alternative request for a two-

week extension of his summary judgment resistance filing deadline.




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                                      Respectfully Submitted,

                                      THOMAS J. MILLER
                                      Attorney General of Iowa

                                      /s/ Kayla Burkhiser Reynolds
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                                      /s/ Christopher J. Deist
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                                      ATTORNEYS FOR DEFENDANTS


                                                     PROOF OF SERVICE

                                   The undersigned certifies that the foregoing instrument was
                                 served upon each of the persons identified as receiving a copy by
                                 delivery in the following manner on February 5 2021:

                                         U.S. Mail                     FAX
                                         Hand Delivery                 Overnight Courier
                                         Federal Express               Other
                                         CM/ECF

                                 Signature: /s/Audra Drish




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